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   IT IS ORDERED as set forth below:



   Date: June 3, 2020
                                                         _________________________________

                                                                  Barbara Ellis-Monro
                                                             U.S. Bankruptcy Court Judge


 ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )       CHAPTER 7
                                              )
SHIRLEY LETT,                                 )       CASE NO. 10-61451-BEM
                                              )
                DEBTOR.                       )

                               ORDER REOPENING CASE
         This matter arises on the United States Trustee’s Motion for Determination that

Appointment of a Trustee is Needed in Reopened Case filed on June 1, 2020, in the above-

captioned matter (Docket No. 38) (“Motion”). Good cause appears for granting the Motion.

Accordingly, it is hereby

         ORDERED that the Motion is granted. The Court hereby determines “that a trustee is

necessary to protect the interests of creditors and the debtor or to insure efficient administration

of the case” pursuant to Fed. R. Bankr. P. 5010. The United States Trustee may appoint a trustee

to serve in this case.

                                     [END OF DOCUMENT]
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Prepared by:

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